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     Group Exhibit C
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From:                                jBlast Reports <reports@jblast.com>
Sent:                                Wednesday, April 29, 2020 4:48 PM
To:                                  crice@diamondrx.com
Subject:                             jBlast Fax Report (BGX-13927407)




                                                                                                                                Customer Care
                                                                                                                                (866) 240-3865




                                                            Broadcast Fax
                                                         Job Summary Report
                                                  Report Generation Date and Time: 4/29/2020 8:47 PM UTC
                                                                 Account      ACCT-05039393 (Diamond Respiratory Care)
                                                                 Product      Broadcast Fax
                                                           Job Number         BGX-13927407
                                                              Job Name        clinic - clinics.csv
                                                              List Count      594
                                                 Job Complete (UTC)           4/29/2020 8:42 PM
                                                              Removed*        164
                                                                     Sent     378
                                                                   Failed     52
                                              Document Page Count             1

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From:                                jBlast Reports <reports@jblast.com>
Sent:                                Thursday, April 23, 2020 4:49 PM
To:                                  crice@diamondrx.com
Subject:                             jBlast Fax Report (BGX-22418052)




                                                                                                                                Customer Care
                                                                                                                                (866) 240-3865




                                                            Broadcast Fax
                                                         Job Summary Report
                                                  Report Generation Date and Time: 4/23/2020 8:49 PM UTC
                                                                 Account      ACCT-05039393 (Diamond Respiratory Care)
                                                                 Product      Broadcast Fax
                                                           Job Number         BGX-22418052
                                                              Job Name        Chiro FAx - chiro2.csv
                                                              List Count      2448
                                                 Job Complete (UTC)           4/23/2020 8:44 PM
                                                              Removed*        891
                                                                     Sent     1349
                                                                   Failed     208
                                              Document Page Count             1

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From:                                jBlast Reports <reports@jblast.com>
Sent:                                Wednesday, May 6, 2020 2:37 PM
To:                                  crice@diamondrx.com
Subject:                             jBlast Fax Report (BGX-23425116)




                                                                                                                                Customer Care
                                                                                                                                (866) 240-3865




                                                           Broadcast Fax
                                                        Job Summary Report
                                                  Report Generation Date and Time: 5/6/2020 6:37 PM UTC
                                                                 Account      ACCT-05039393 (Diamond Respiratory Care)
                                                                 Product      Broadcast Fax
                                                           Job Number         BGX-23425116
                                                              Job Name        hha pt - hha_pt_rehab.csv
                                                             List Count       2693
                                                 Job Complete (UTC)           5/6/2020 6:34 PM
                                                              Removed*        1055
                                                                     Sent     1393
                                                                   Failed     245
                                              Document Page Count             1

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From:                                jBlast Reports <reports@jblast.com>
Sent:                                Wednesday, May 6, 2020 3:25 PM
To:                                  crice@diamondrx.com
Subject:                             jBlast Fax Report (BGX-24151323)




                                                                                                                                Customer Care
                                                                                                                                (866) 240-3865




                                                           Broadcast Fax
                                                        Job Summary Report
                                                  Report Generation Date and Time: 5/6/2020 7:25 PM UTC
                                                                 Account      ACCT-05039393 (Diamond Respiratory Care)
                                                                 Product      Broadcast Fax
                                                           Job Number         BGX-24151323
                                                              Job Name        lab - labs2.csv
                                                             List Count       602
                                                 Job Complete (UTC)           5/6/2020 7:22 PM
                                                              Removed*        224
                                                                     Sent     328
                                                                   Failed     50
                                              Document Page Count             1

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From:                                jBlast Reports <reports@jblast.com>
Sent:                                Tuesday, April 21, 2020 7:17 PM
To:                                  crice@diamondrx.com
Subject:                             jBlast Fax Report (BGX-43983239)




                                                                                                                                Customer Care
                                                                                                                                (866) 240-3865




                                                           Broadcast Fax
                                                        Job Summary Report
                                                 Report Generation Date and Time: 4/21/2020 11:16 PM UTC
                                                                 Account      ACCT-05039393 (Diamond Respiratory Care)
                                                                 Product      Broadcast Fax
                                                           Job Number         BGX-43983239
                                                              Job Name        Hand San 2 - fax-sanitizer1.csv
                                                             List Count       3812
                                                 Job Complete (UTC)           4/21/2020 11:12 PM
                                                              Removed*        1246
                                                                     Sent     2228
                                                                   Failed     338
                                              Document Page Count             1

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From:                                jBlast Reports <reports@jblast.com>
Sent:                                Wednesday, April 22, 2020 1:51 PM
To:                                  crice@diamondrx.com
Subject:                             jBlast Fax Report (BGX-62618619)




                                                                                                                                Customer Care
                                                                                                                                (866) 240-3865




                                                            Broadcast Fax
                                                         Job Summary Report
                                                  Report Generation Date and Time: 4/22/2020 5:50 PM UTC
                                                                 Account      ACCT-05039393 (Diamond Respiratory Care)
                                                                 Product      Broadcast Fax
                                                           Job Number         BGX-62618619
                                                              Job Name        HHA Sanitizer 1 - HHA list 1
                                                              List Count      2647
                                                 Job Complete (UTC)           4/22/2020 5:44 PM
                                                              Removed*        987
                                                                     Sent     1425
                                                                   Failed     235
                                              Document Page Count             1

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From:                                jBlast Reports <reports@jblast.com>
Sent:                                Friday, May 1, 2020 1:01 PM
To:                                  crice@diamondrx.com
Subject:                             jBlast Fax Report (BGX-96791601)




                                                                                                                                Customer Care
                                                                                                                                (866) 240-3865




                                                           Broadcast Fax
                                                        Job Summary Report
                                                  Report Generation Date and Time: 5/1/2020 5:01 PM UTC
                                                                 Account      ACCT-05039393 (Diamond Respiratory Care)
                                                                 Product      Broadcast Fax
                                                           Job Number         BGX-96791601
                                                              Job Name        hospice - hospice.csv
                                                             List Count       4423
                                                 Job Complete (UTC)           5/1/2020 4:56 PM
                                                              Removed*        1244
                                                                     Sent     2722
                                                                   Failed     457
                                              Document Page Count             1

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